UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JASMINE TORO, on behalf of herself and
 all others similarly situated,
                                                                   22-CV-6131 (RA)
                                 Plaintiff,
                                                                        ORDER
                         v.

 GIFT CRATES LLC,

                                 Defendant.

RONNIE ABRAMS, United States District Judge:

         This case has been assigned to me for all purposes. It is hereby:

         ORDERED that, within thirty (30) days of service of the summons and complaint, the

parties must meet and confer for at least one hour in a good-faith attempt to settle this action. To

the extent the parties are unable to settle the case themselves, they must also discuss whether

further settlement discussions through the district’s court-annexed mediation program or before a

magistrate judge would be productive at this time.

         IT IS FURTHER ORDERED that within fifteen (15) additional days (i.e., within forty-

five (45) days of service of the summons and complaint), the parties must submit a joint letter

requesting that the Court either (1) refer the case to mediation or a magistrate judge (and indicate

a preference between the two options), or (2) schedule an initial status conference in the matter.

SO ORDERED.
Dated:      August 11, 2022
            New York, New York

                                                   Ronnie Abrams
                                                   United States District Judge
